U,S, Dep8l"ImemofJ!lltice
U!~tetl   StlllC3 Aliorw::y       Case 4:12-cr-00009-MLB-WEJ Document 6 Filed 02/08/12 Page 1 of 1


                                                                UNITED STATES DISTRICT COURT
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                                                                 NORTHERN DISTRICT OF GEORGIA                                                      FEB - II LUll
                                                                                                        DIVISTON Rome                         ,I~rk
                                                                                                                       (USA02012Pf!1r.~
                                                       DEFENDANT INFOR~IATlO)\; RELA TlVE TO A CRIMI)\;AL ACTIO)\;'


COUNTY            NAME:-"P-"a",ul,-"d",in",g~________
                                                                      TN UNITED STATES DISTRICT COLRT
                                                                                                        DISTRICT COURT
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                                                                                                        MAGISTRATE CASE NO. _ _ _ _ _ _ _ _ _ _ __

L         Indictment                                            InfonnatJon                                            _ r..1agistrate's Complaint

DATE: 2/8/12                                                  DATE:

                                   UNITED STATES OF AMERICA                                                                          SUPERSEDING
                                                 VS.

                        WILLIE CHARLES TOWNSEND                                                  Prior Case No. &. Date File<3


    VTOLATlON:

    COUNTS CHARGED:                                                                   TOTAL COUl\'l'S,
    (as to defi)                                                                      {as to deft}
    GREATER OFFENSE CHARGED:
     X Felony         Misdemeanor
DEFENDANT:

IS NOT fN CUSTODY:

                   I.  Ha." not been arrested pcnding outcome of lhjs proceeding.
                       Tf not detained, give date any prior summons was servw on above charges _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  2, _ fugJtive.
                  l. _Is on bailor release from (district.. state &. date);


DATE OF ARREST _ _ _-;;-_---,_ _-:-:,-;-;-_ _ _ _ _ _ _ _ _ _ _ _ __
        Or if arresting agency &. warrant were not Federal;

DATE TRANSFERRED TO U,S. CUSTODY: -:::----,_--,,_-;-;-_..,.,-_ _ _ _ _ _ _ _ _ _ _ __
                   Are there any outstanding warranl~ in lhis proceeding _ Yes _ No
                   Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                    Issued by:

IS fN CUSTODY:

                  4       On this .charge.
                  5,     On another conviction.
                  6, Awaiting trial on other charges LYes _ No
                  _X_ Federal          _ State
                         lfYel>, show name of institution -""""''''''------,.;-c~-------­
                         Has detainer been fiied Yes
                     If Yes, give datc _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                              ADDITIONAL   fNFO~>vIATION   OR COMMENTS:                  MAGISTRATE: _ _ _ _ _ _ __
                                                                                         JUDGE:
                                                                                         AU.SA:        Paul R. Jones
                                                                                         DEFrSATTY:
                                                                                                      SALLY QUILLIAN YATES
                                                                                                      U;';ITED STATES ATIORNEY
                                                                                           BY: .. Paul R, Jones
                                                                                                        A:loist1ll11 Uniled St1I1M Atron>ey

                                                                                          DATE: _ _ _ __
